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                       Case 4:20-cv-00011-WTM-CLR Document 1 Filed 01/13/20 Page 3 of 11

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               Case 4:20-cv-00011-WTM-CLR Document 1 Filed 01/13/20 Page 4 of 11


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                   Case 4:20-cv-00011-WTM-CLR Document 1 Filed 01/13/20 Page 6 of 11


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   ^ S-I^i^rd ^Un.Jg^'t-p^                 jiTg- -^yni- i'ln A^ioN—^0^9
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^)T/)g. hiJu\^S& "B^eio                 4-l^sj- j^K^u ^oir}\-Y?ins>viXA ^ny g-P -ftngSg,                       Qptv<X
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 (^?T\TAe. Pkrt>ij:i^-P-P gy^ki y^cpW^A ^ ir^SiP^Jiz. fbi^ i'he. W>pX'c.^i ) ^si^ ^h^hnintn
     iUf> Phir.KPf^          Uo w^iA.)Akg. C5)lg4 W llng- WJ/c^l                 h be      W
             Xydni^-sH hh-i^ -Ptgr^                                      -dhcu-l- i-hp oih^^lSSUef h %
                             kl^j- 5:^Hl                       -a /<^5jg(7K>5e^                           ^             ^—

   (l)H)X /aW         rlc/cW az-U                     U                                    X            h -tiy            .
       hiAurfe ^ecf^/Q/T^                                                 P'ACtS*                        —:—^
   (^Tlig:                    ^)S^'           gj/ K&^/A-e-s-^ -ajod                               a: (7^^/ IrrT^iZ^
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     mOr. (7\^ r)o3p \n                             7:Ho 2.0;/^ ilvg Pla/to ii'ff^/XS                lyw ^ i/uJ^ %i?3-
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           ktA v✓a.^^^>J ->')7^. P)A,'i^ii'-e-f: h                  ^-f^- e.'+lie,.- -fwc-. jgcu>ve.^:B. Oios jtcu^r^T-
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                                                                                                                fageCH^)
              Case 4:20-cv-00011-WTM-CLR Document 1 Filed 01/13/20 Page 9 of 11

^■^TTTr. rnA/rLUSXO/v: The.                 ^h<i 0-\hev^                                                                  a.iocL.
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                      Case 4:20-cv-00011-WTM-CLR Document 1 Filed 01/13/20 Page 10 of 11
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